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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                   )
                                            )
                       Plaintiff,           )
                                            )
       v.                                   )      No. 23-cr-28 (APM)-3
                                            )
VICTOR SEAN DENNISON,                       )
                                            )
                       Defendant.           )
                                            )

                                    NOTICE OF FILING

       Victor Dennison, by and through counsel, hereby files notice of the two attached

documents in the above captioned matter. He requested they be filed with the Court during his

Arraignment hearing.


                                           Respectfully submitted,

                                           A. J. KRAMER
                                           FEDERAL PUBLIC DEFENDER

                                                  /s/

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